              Case 2:20-cv-00372-RAJ               Document 23
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                                     UNITED STATES DISTRICT COURT
 1                                  WESTERN DISTRICT OF WASHINGTON
 2

 3       Gabriella Kertesz
 4
                                                                  NOTICE OF CIVIL APPEAL
 5                                      Plaintiff(s),
 6                v.
                                                                  Case No 2:20-CV-00372-RAJ-BAT
 7
         Bob Ferguson
 8
                                                                  District Court Judge
 9                                      Defendant(s).             Richard A. Jones
10
             Notice is hereby given that         Gabriella Kertesz
11
                                                                               (Name of Appellant)
12
             appeals to the United States Court of Appeals for the Ninth Circuit from
13
              Order Adopting Report and Recommendation and Granting Motion to Dismiss
14           (Name of Order/Judgment)
15
             entered in this action on 06/18/2020                          .
16                                      (Date of Order)

17           Dated: 06/25/2020                      .
18                                                      Gabriella Kertesz
                                                        9702 1st Ave NW
19                                                      Seattle, King county, WA
                                                        98117
20                                                      425-243-2287
21
                                                        Name, Address and Phone Number of Counsel for
22                                                      Appellant or Appellant/Pro Se
23
                                                        s/ Gabriella Kertesz pro se
24
                                                        Signature of Counsel for Appellant or
25                                                      Appellant/Pro Se




     NOTICE OF CIVIL APPEAL - 1
